       Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 1 of 33




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 MARTIN COWEN, et al.,                         *
                                               *
       Plaintiffs,                             *
                                               *
 v.                                            * CASE NO.: 1:17cv04660-LMM
                                               *
 BRAD RAFFENSPERGER, Georgia                   *
 Secretary of State,                           *
                                               *
       Defendant.                              *


DEFENDANT’S OPPOSITION TO PLAINTIFFS’ SECOND MOTION FOR
                 SUMMARY JUDGMENT1

       It is settled law that Georgia has the “undoubted right to require candidates to

make a preliminary showing of substantial support in order to qualify for a place on

the ballot.” Anderson v. Celebrezze, 460 U.S. 780, 788 n. 9 (1982). Based on this

strong interest, courts repeatedly uphold state ballot access requirements like

Georgia’s that “protect the integrity and reliability of the electoral process itself.” Id.

Despite Plaintiffs’ complaint that the ballot access requirements for Georgia’s



      1 In their second motion for summary judgment (Doc. 134), Plaintiffs
incorporated by reference their Statement of Undisputed Material Facts filed in the
prior round of summary judgment briefing (Doc. 69). In response, Defendant
incorporates by reference his original response and objections to Plaintiffs’
Statement of Undisputed Material Facts and supporting evidence (Doc. 97 and 99).
                                           -1-
       Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 2 of 33




congressional districts are the most stringent in the nation, they repeatedly have been

upheld as constitutional by the Supreme Court and the Eleventh Circuit.

      There is no reason why the Court should hold any differently based upon the

factual record in this case. Although the Eleventh Circuit remanded the case for

further consideration under the Anderson-Burdick framework, the Court’s

determination must still be informed by the Supreme Court’s decision in Jenness v.

Fortson, 403 U.S. 431 (1971) and other Eleventh Circuit precedent upholding the

constitutionality of Georgia’s 5% petition requirement. To prevail on their claims,

Plaintiffs must demonstrate that “a different result from Jenness is required in this

case—either because of different facts in the instant record, as compared to the

record in Jenness; changes in the relevant Georgia legal framework; or the evolution

of the relevant federal law.” Cowen v. Ga. Sec’y of State, 960 F.3d 1339, 1346 (11th

Cir. 2020).

      Plaintiffs’ motion fails to make this showing. Georgia’s legal framework has

not materially changed since Jenness, and the relevant federal cases repeatedly have

upheld state petition requirements under a far more deferential standard of review

than what Plaintiffs propose. The factual record, though robust in volume, is thin on

probative evidence establishing that Georgia’s petition requirements have become

so burdensome that they should be subjected to a higher level of scrutiny under the

                                             -2-
              Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 3 of 33




     Anderson-Burdick framework. Accordingly, the Court should grant summary

     judgment in favor of the Secretary on Plaintiffs’ First and Fourteenth Amendment

     claim.

              Plaintiffs’ Equal Protection claim also fails as a matter of law. This claim rests

     on the false premise that Georgia law requires more petition signatures for non-party

     candidates for Georgia’s congressional districts than for statewide office, when it

     does not. While Plaintiffs complain that they must demonstrate support among the

     electorate for both statewide office and Georgia’s congressional districts, the State’s

     interest in ensuring that candidates have a substantial level of support among voters

     before placing them on the ballot applies at the state and district level. It is not

     “invidious discrimination” that runs afoul of the Equal Protection clause to require

     Libertarian Party candidates to demonstrate that they have voter support within the

     districts they seek to represent.

I.      GEORGIA’S PETITION REQUIREMENTS DO NOT VIOLATE THE
        FIRST AND FOURTEENTH AMENDMENT.

              The parties agree that the Anderson-Burdick framework is the appropriate

     legal standard for Plaintiffs’ First and Fourteenth Amendment claims. Under the

     Anderson-Burdick test, courts are to “weigh the character and magnitude of the

     burden the State’s rule imposes on those rights against the interest the State contends

     justify that burden, and consider the extent to which the State’s concerns make that
                                                  -3-
       Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 4 of 33




burden necessary.” Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358

(1997). The rigorousness of the Court’s inquiry “depends upon the extent to which

a challenged regulation burdens First and Fourteenth Amendment rights.” Burdick,

504 U.S. at 434. When “those rights are subjected to ‘severe’ restrictions, the

regulation must be ‘narrowly drawn to advance a state interest of compelling

importance.’” Id. (citations omitted). “Lesser burdens, however, trigger less exacting

review, and a State’s ‘important regulatory interests’ will usually be enough to

justify ‘reasonable, nondiscriminatory restrictions.’” Timmons, 520 U.S. at 358.

      The State disagrees, however, with Plaintiffs’ claim that the State “bears the

burden on the second and third [step]” of the Anderson-Burdick framework. (Doc.

134-1 at 35.) To the contrary, courts have never imposed an evidentiary burden on

the State. The State need only identify the interests that it seeks to further by its

regulation; it “does not require any evidentiary showing or burden of proof to be

satisfied by the state government.” Common Cause of Georgia v. Billups, 554 F.3d

1340, 1353 (11th Cir. 2009) (noting that the Supreme Court has never “place[d] an

evidentiary burden on the state when defending a voting regulation”); see also

Munro v. Socialist Workers Party, 479 U.S. 189, 194-95 (1986) (“We have never

required a State to make a particularized showing of the existence of voter confusion,

ballot overcrowding, or the presence of frivolous candidacies prior to the imposition

                                            -4-
       Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 5 of 33




of reasonable restrictions on ballot access.”) Accordingly, the burden remains with

the Plaintiffs to prove that Georgia’s petition requirements violate their First and

Fourteenth Amendment rights under the Anderson-Burdick framework.

      A. Georgia’s petition requirements do not present a severe burden based
         upon longstanding precedent.

      A well-established line of Supreme Court and Eleventh Circuit precedent

holds that petition requirements for ballot access, including Georgia’s 5%

requirement, are “reasonable, nondiscriminatory restrictions” that do not impose a

severe burden on Plaintiffs’ First and Fourteenth Amendment rights.

      The Supreme Court first found that Georgia’s 5% signature requirement did

not present a severe burden in Jenness v. Fortson, 403 U.S. 431 (1971). The Court

looked at the burden imposed by the petition requirement and reasoned that,

although it is “somewhat higher” than other states, Georgia imposes few restrictions

on the signature collection process. Id. at 442. Specifically, voters may sign a

petition for more than one candidate; voters are not required to state that they intend

to vote for that candidate in the election; and voters who previously voted in a party

primary are still eligible to sign a petition. Id. at 438-39. Additionally, Georgia law

“does not fix an unreasonably early filing deadline for candidates” and allows them

6 months to conduct a signature-gathering campaign. Id. at 438. Georgia also “freely

provides for write-in votes.” Id. 438. In sum, the Court concluded that Georgia’s
                                            -5-
       Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 6 of 33




election laws do not “operate to freeze the political status quo” because they do not

make it “virtually impossible” for third-party candidates to access the ballot. Id. at

438, 434-45.

      Following Jenness, the Eleventh Circuit has upheld Georgia’s petition

requirements as reasonable, nondiscriminatory restrictions that are justified by the

State’s regulatory interests. See McCrary v. Poythress, 638 F.2d 1308, 1311-13 (11th

Cir. 1981) (relying on Jenness to uphold the 5% petition requirement); Coffield v.

Handel, 599 F.3d 1276, 1277 (11th Cir. 2010) (“Our Court and the Supreme Court

have upheld Georgia’s 5% rule before.”); Cartwright v. Barnes, 304 F.3d 1138, 1141

(2002) (recognizing that the analysis in Jenness “still equally pertains today” and

that Georgia’s 5% petition requirement is not severely burdensome). The Eleventh

Circuit has thus upheld Georgia’s petition requirements in three separate challenges,

holding each time that the associated burdens are not severe and have not materially

changed since Jenness.

      Furthermore, the Eleventh Circuit has held that similar petition requirements

in Florida and Alabama do not present a severe burden under the Anderson-Burdick

framework and should not be subject to heightened scrutiny. See Libertarian Party

of Fla. v. Florida, 710 F.2d 790, 793 (11th Cir. 1983) (upholding Florida’s 3%

petition requirement and declining to apply a heightened level of scrutiny); Swanson

                                            -6-
       Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 7 of 33




v Worley, 490 F.3d 894, 903-904 (11th Cir. 2007) (holding that Alabama’s 3%

petition requirement “does not impose a severe burden on plaintiffs’ rights but is a

reasonable, nondiscriminatory restriction”); Stein v. Ala. Sec’y of State, 774 F.3d

689, 694-99 (11th Cir. 2014) (holding that Alabama’s ballot access requirements for

presidential candidates did not demonstrate a burden that would subject them to strict

scrutiny).2

      Based upon this long line of precedent, another court in this judicial district

declined to fully enjoin Georgia’s petition requirement for the 2020 election cycle,

finding that Georgia’s petition requirements impose only a “moderate” burden this

year due to the global COVID-19 outbreak. Cooper v. Raffensperger, No. 1:20-CV-

1312-ELR, 2020 U.S. Dist. LEXIS 122237, *17 (N.D. Ga. July 9, 2020). Judge Ross


      2
         Other circuits have also declined to find that state petition requirements as
high as 5% are so burdensome as to trigger heightened scrutiny under Anderson-
Burdick, citing Jenness as establishing a constitutionally permissible limit. See, e.g.,
Ariz. Libertarian Party v. Hobbs, 925 F.3d 1085, 1093 (9th Cir. 2019) (holding that
a state can allow signature requirements of up to 5% without imposing a “severe
burden” triggering heightened scrutiny); Libertarian Party of N.H. v. Gardner, 843
F.3d 20, 26 (1st Cir. 2016) (“Neither the Supreme Court nor any circuit court has
struck down a statewide ballot-access regime on the grounds that a signature
requirement of 5% (or less) is too much, or that 6 months (or more) is too little time
within which to gather the signatures from a pool of substantially all voters.”);
Rainbow Coalition of Okla. v. Okla. State Election Bd., 844 F.2d 740, 743 (10th Cir.
1988) (rejecting the argument that strict scrutiny should be applied in upholding
Oklahoma’s 5% petition requirement for party status).


                                             -7-
       Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 8 of 33




recognized that during “normal circumstances,” Georgia’s petition requirements

“constitute reasonable, nondiscriminatory burdens” and withstand scrutiny under the

rational basis test. Id. at *14. While the court concluded that the circumstances

surrounding COVID-19 elevated the burden on candidates to a “moderate” level, it

rejected the plaintiffs’ argument that the burden associated with the petition

requirements were severe because candidates are not “virtually excluded from the

ballot.” Id. at *17 (citing Libertarian Party of Kentucky v. Grimes, 835 F.3d 570,

574 (6th Cir. 2016)). If, as Judge Ross found, Georgia’s petition requirements

impose only a “moderate” burden during a global pandemic, then they certainly do

not present a severe burden in normal election cycles as Plaintiffs contend.

      B. Plaintiffs have not shown that this case is materially distinguishable
         from Jenness and other controlling Eleventh Circuit precedent.

      The Eleventh Circuit instructed in its remand order that, in order to prevail,

Plaintiffs must “satisfactorily distinguish its claims from those rejected in Jenness,”

and “demonstrate why a different result from Jenness is required in this case—either

because of different facts in the instant record, as compared to the record in Jenness;

changes in the relevant Georgia legal framework; or the evolution of the relevant

federal law.” Cowen, 960 F.3d at 1346. Plaintiffs cannot meaningfully distinguish

Jenness in any of these ways. Although Plaintiffs assert a laundry list of arguments


                                             -8-
       Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 9 of 33




why the Court should find that Georgia’s petition requirements impose a severe

burden on political body candidates, none of these arguments withstand scrutiny.

          1. Plaintiffs’ evidence does not establish that it is virtually impossible for
             reasonably diligent candidates to satisfy the petition requirements.

      First, Plaintiffs point to the fact that no political body candidate has ever

satisfied the signature requirement for U.S. Representative. (Doc. 134-1 at 37.)

While Plaintiffs argue that this fact shows that Georgia’s petition requirements

“operate to freeze the political status quo” in violation of Jenness, 403 U.S. at 438,

they mischaracterize what the Supreme Court was saying in that case. The Supreme

Court was comparing Georgia’s requirements to the ballot access laws of Ohio

struck down in Williams v. Rhodes, 393 U.S. 23 (1968). Ohio’s requirements were

much more restrictive, and made it “virtually impossible” for new political parties

to access the ballot. Jenness, 403 U.S. at 435 (citing Williams, 393 U.S. at 24).3

When it observed that Georgia’s election laws did not “operate to freeze the political

status quo,” the Court was looking at whether Georgia’s scheme allowed for the




      3
        The Ohio scheme struck down in Williams required new political parties to
submit a petition signed by a number of qualified electors equal to 15% of the
number of voters in the last gubernatorial election, file the petition by February of
an election year, and hold a primary election “conforming to detailed and rigorous
standards.” Jenness, 403 U.S. at 435. In comparison, the Jenness court found
Georgia’s 5% petition requirement far less restrictive.
                                            -9-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 10 of 33




possibility that a third party candidate could get on the ballot—not whether some

had tried and failed.4

      The evidence adduced by Plaintiffs falls far short of proving that it is

“virtually impossible” for a candidate to meet the 5% petition requirement for U.S.

Representative. The appropriate standard is whether “a reasonably diligent [ ]

candidate [can] be expected to satisfy the signature requirements.” Libertarian Party

of Florida v. Florida, 710 F.2d 790, 793 (11th Cir. 1983) (quoting Storer v. Brown,

415 U.S. 724, 742 (1974)). However, almost all of the candidates that Plaintiffs

identify as having made a “genuine effort” to meet the petition requirements actually

did very little work during the 6-month period they are allowed to gather signatures.

Plaintiffs cannot just assert the conclusion that these candidates made a genuine

effort—they must present evidence of such an effort. See id. at 794 (“Conclusory

allegations cannot prevail.”).




      4
        The plaintiffs in Cartwright and Coffield also raised the argument that no
third-party candidate has ever succeeded in meeting the 5% petition requirement for
U.S. Representative. The Eleventh Circuit rejected that argument in both cases,
finding that the holding of Jenness still controlled and that Georgia’s petition
requirement was not severely burdensome. See Cartwright, 304 F.3d at 1141;
Coffield, 599 F.3d at 1277.


                                           -10-
       Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 11 of 33




       Plaintiffs’ purported evidence may be robust in volume, but it is thin in

substance. Although Plaintiff Martin Cowen claims to have made a “genuine effort”

to meet the petition requirement in 2018, he utilized only 40 out of the 180 allotted

days and collected 620 signatures. (Defendant’s Statement of Material Facts [Doc.

135-3] ¶ 42.) In 2020, Mr. Cowen submitted a petition with six signatures. (Id. ¶ 64.)

       Other would-be candidates gathered only a few hundred signatures, or did not

even try. (See Doc. 135-3 ¶¶ 42-57.) One stated that he “abandoned [his] effort to

qualify for the ballot and did not submit the signatures that [his] team had gathered.”

(Id. ¶ 51.) Another “withdrew from the race without ever having publicly announced

[her] intention to enter it.” (Id. ¶ 54.) Still another inquired with the Secretary of

State’s office about the number of required signatures, but immediately decided not

to run. (Id. ¶ 57.)

       Of the 11 unsuccessful candidates who submitted declarations in support of

Plaintiffs’ summary judgment motion,5 only one candidate (Wayne Parker) can be



       5
        There are additional individuals whom Plaintiffs claim attempted to qualify
as candidates, who are identified in Plaintiffs’ Statement of Undisputed Material
Facts. [See Doc. 69-2 ¶¶ 92-120.] However, Plaintiffs did not obtain sworn
declarations from any of these purported candidates. Rather, they are identified in
unauthenticated documents or hearsay statements from other witnesses. There is no
evidence regarding the efforts these candidates made to qualify, or if they even tried
to meet the petition requirements. This evidence is of little probative value, and
should not be considered by the Court on summary judgment.
                                           -11-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 12 of 33




said to have acted with reasonable diligence, and he came very close to meeting the

petition requirement. (Id. ¶ 55.) The Libertarian Party raised $40,000 for Mr.

Parker’s campaign in 2002, and paid for 35 professional petition circulators. (Id.)

While he gathered over 20,000 raw signatures, after they were validated by county

officials, he was “just shy” of the requirement. (Id. ¶ 56.) According to Mr. Parker,

the 2002 election cycle was the Libertarian Party’s “most substantial effort to obtain

ballot-access for U.S. Representative,” before or after. (Id. ¶ 55.) Mr. Parker’s

testimony is evidence that, with the investment of time and financial resources, it is

possible to collect the necessary signatures.

      And while no third-party or independent candidates have yet obtained ballot

access for Georgia’s congressional districts, non-party candidates have achieved

successes both statewide and at the district level. (Id. ¶¶ 44, 45.) Indeed, several

independent candidates were able to meet the petition requirement for local offices

for the 2020 election even during a pandemic. (Id. ¶¶ 60-62.) In this respect,

Georgia’s petition requirements have not operated to exclude non-party candidates

from the ballot.

      Running for Congress undoubtedly requires significant time and resources for

party and non-party candidates alike. The failure of a candidate to get on the ballot

can be an indication that they simply do not have the support of the voters in

                                            -12-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 13 of 33




Georgia’s current political landscape. But as the Supreme Court has made clear, the

State is “not burdened with a constitutional imperative to reduce voter apathy or to

‘handicap’ an unpopular candidate to increase the likelihood that the candidate will

gain access to the general election ballot.” Munro, 479 U.S. at 198.

         2. Georgia’s petition requirements for president are not relevant here.

      Next, Plaintiffs argue that Green Party of Georgia v. Kemp, 171 F. Supp. 3d

1340 (N.D. Ga. 2016) supports a finding that Georgia’s petition requirements are

severely burdensome. (Doc. 134-1 at 39.) However, that case is inapposite because

it involved Georgia’s petition requirements for political body candidates for

president. The issue before the Court was whether Georgia’s petition requirement of

50,000 signatures for ballot access in the presidential general election was

unconstitutionally burdensome. See id. at 1359-60. Although the Court first analyzed

the petition requirement under a strict scrutiny standard of review, it did so because

it found the burden on the right to vote was severe—not because the burden on

candidates in meeting the petition requirement was severe. Id. at 1363. The Court

reasoned that, due to the national nature of a presidential election, the petition

requirement limited the choice of Georgia voters and the rights of voters outside of

Georgia. Id. at 1362.



                                            -13-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 14 of 33




      After reaching this conclusion, however, the Court expressed uncertainty

about whether a strict scrutiny level of review was even appropriate under the

Anderson-Burdick framework. Id. at 1367 (“Anderson and its progeny dictate that

the Court apply more of a sliding scale than the tiered levels of review.”) The Court

therefore proceeded “under a standard more deferential than strict scrutiny,” and still

concluded that the petition requirement could not withstand any level of scrutiny

because “the State’s regulatory interest is not sufficiently important to justify the

restrictions” on the rights of Georgia voters and voters in other states. Id. at 1367.

The Court concluded that the State’s regulatory interest was outweighed by

important national interests, and ordered that the petition requirement for

presidential candidates be reduced from 50,000 to 7,500. Id. at 1373. The Court was

careful to note in its order that “all other facets of Georgia’s election scheme will

remain in place.” Id.

      The Green Party decision does not support Plaintiffs’ argument that strict

scrutiny should be applied here, because the Court in that case ultimately applied a

more deferential standard of review. More importantly, the Court’s decision was

based entirely upon the unique national interests implicated in a presidential election,

which are not at issue here. Although the Eleventh Circuit affirmed the Green Party



                                             -14-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 15 of 33




decision without an opinion, it has never extended that case’s reasoning to state

petition requirements for non-presidential offices.

      In sum, there is nothing in the Green Party decision that supports a finding in

this case that Georgia’s 5% petition requirement for U.S. Representative are severely

burdensome, particularly in light of the Supreme Court and Eleventh Circuit

precedent upholding the requirement, as well as precedent upholding similar

requirements in other states under a more deferential standard of review.

          3. Comparison to other states is not the standard for constitutionality.

      Plaintiffs also argue that Georgia’s signature requirement is the highest in the

nation. (Doc. 134-1 at 40.) However, the Eleventh Circuit repeatedly has rejected

this type of state-by-state comparison as a means of determining whether a ballot

access restriction is constitutional, and the Court should decline to do so here.

      In Libertarian Party of Florida, the Eleventh Circuit dismissed a similar

argument that “Florida’s 3% requirement must be stricken as unconstitutionally

burdensome because a majority of states protects interests similar to Florida’s by

imposing a lesser requirement.” 710 F.2d at 793-94. The court noted that petition

requirements are a policy judgment to be made by each state, and a “court is no more

free to impose the legislative judgments of other states on a sister state than it is free

to substitute its own judgment for that of the state legislature.” Id. at 794. See also

                                              -15-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 16 of 33




Swanson, 490 F.3d at 910 (“[T]he Supreme Court has upheld a broad array of

election schemes, and we confine our inquiry to whether Alabama’s election scheme

is constitutional, not whether Alabama’s scheme is the best relative to other states.”);

Green v. Mortham, 155 F.3d 1332, 1339 (11th Cir. 1998) (“There is a range of fees

and signature requirements that are constitutional, and the Florida legislature is free

to choose its ballot access requirements from that constitutional spectrum. The fact

that Florida may be at the high end of that range does not make its ballot access

restrictions unconstitutional.”).

      Accordingly, the Court must confine its inquiry to whether Georgia’s petition

requirements are constitutional, not whether they are more rigorous than other states.

Since Jenness, the Eleventh Circuit and other circuit courts continue to cite

Georgia’s 5% petition requirement as constitutionally permissible, even if it is on

the high end of the permissible range.

          4. Federal campaign contribution limits apply to all candidates, and are
             not a burden unique to political body and independent candidates.

      Plaintiffs also assert a number of complaints about the costs associated with

meeting ballot access requirements, including the qualifying fee, and federal

campaign finance laws, which they contend inhibit their ability to raise sufficient

resources to meet the petition requirements. (Doc. 134-1 at 45-48.) However, all

candidates for office—both party and non-party alike—face these challenges.
                                         -16-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 17 of 33




      All candidates must pay a qualifying fee in Georgia, and this requirement has

actually become less restrictive since Jenness because the law now allows candidates

to submit a pauper’s affidavit if they cannot meet the fee requirement. O.C.G.A. §

21-2-132(g). Although the pauper’s affidavit must also be accompanied by a

conforming petition, the Supreme Court has upheld this type of scheme. See Lubin

v. Panish, 415 U.S. 709, 718 (1973) (“[A] candidate who establishes that he cannot

pay the filing fee required for a place on the primary ballot may be required to

demonstrate the seriousness of his candidacy by persuading a substantial number of

voters to sign a petition in his behalf.”).

      It is expected that non-party candidates “must incur some expenses in

accumulating the necessary signatures to qualify for the ballot,” but this does not

render petition requirements unconstitutionally burdensome. Libertarian Party of

Florida, 710 F.2d at 794-795; see also American Party of Texas v. White, 415 U.S.

767, 794 (1974) (recognizing that minor parties “must undergo expense, to be sure,

in holding their conventions and accumulating the necessary signatures to qualify

for the ballot”). Major party candidates must raise funds to successfully run in a

primary election, which can be significantly more than a petition drive in a

congressional race.



                                              -17-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 18 of 33




      Restrictions on fundraising imposed by federal campaign finance laws also

equally apply to all candidates, and are not a discriminatory burden imposed by the

State. Although Plaintiffs are correct that the federal limits on individual donor base

contributions were imposed in 1971 and were not in place at the time Jenness was

decided,6 those limits did exist at the time that the Eleventh Circuit upheld Georgia’s

petition requirements in McCrary, Cartwright, and Coffield. The federal limits on

individual base contributions have been upheld as constitutional by the Supreme

Court, and Plaintiffs fail to cite to any authority holding that federal campaign

finance laws have any bearing whatsoever on the constitutionality of state ballot

access requirements.

          5. Georgia’s petition requirements have not materially changed since
             Jenness.

      Finally, Plaintiffs argue that “Georgia’s legal framework has also changed in

significant ways since Jenness.” (Doc. 134-1 at 45.) However, this is directly

contradicted by the Eleventh Circuit’s holding in Coffield that the “pertinent laws of

Georgia have not changed materially since the decisions in Jenness and Cartwright

were made.” 599 F.3d at 1277. Indeed, Georgia still imposes few restrictions on the



      6
        In Buckley v. Valeo, 424 U.S. 1 (1976), the Supreme Court addressed the
constitutionality of certain provisions of the Federal Election Campaign Act of 1971
and upheld the individual contribution limits established by the act.
                                             -18-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 19 of 33




signature collection process, as noted in Jenness. 403 U.S. at 442. Voters may still

sign a petition for more than one candidate, are still not required to state that they

intend to vote for that candidate in the election, and are still eligible to sign a petition

even if they previously voted in a party primary. Id. at 438-39. Additionally,

Georgia’s filing deadline is not unreasonably early, and the 6-month period to

conduct a signature-gathering campaign remains the same. Id. at 438.

       Although Plaintiffs complain that the Secretary’s review of petition signatures

has become more rigorous, there is no evidence in the record of a candidate having

been wrongfully denied a place on the ballot because the Secretary improperly

rejected valid signatures. There is a statutory procedure for the review of petitions

set forth in O.C.G.A. § 21-2-171. Signatures are reviewed by both the Secretary’s

office and by the appropriate county elections superintendent(s) to determine

whether the signatures are from registered voters who reside within the district. If a

candidate believes that a petition has been wrongfully rejected, state law provides a

process for judicial review of the Secretary’s decision as to the sufficiency of the

petition. See O.C.G.A. § 21-2-171(c).

       Plaintiffs’ complaint about the qualification process for write-in candidates is

also without merit. Georgia law still “freely provides for write-in votes,” as the

Supreme Court found in Jenness. 403 U.S. at 438. Contrary to Plaintiffs’ claim that

                                               -19-
        Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 20 of 33




the process has become more restrictive, the only change in the law is that a write-

in candidate must file a declaration of candidacy with the Secretary of State before

votes for that candidate will be counted. See O.C.G.A. § 21-2-133. An aspiring

candidate is still free to run as a write-in candidate, and voters can write in the name

of that candidate and have those votes counted. Indeed, Mr. Cowen declared his

intent to run as a write-in candidate in the last congressional election and again in

2020.

        In sum, Plaintiffs have not met their burden to show why the Court should

turn precedent on its head and find that Georgia’s petition requirements are “severe”

and subject to heightened scrutiny. As the Supreme Court noted in Burdick,

“[e]lection laws will invariably impose some burden upon individual voters.” 504

U.S. at 433. The mere fact that Georgia’s “system ‘creates barriers . . . tending to

limit the field of candidates from which voters might choose . . . does not of itself

compel close scrutiny.” Id. Such a result “would tie the hands of States seeking to

assure that elections are operated equitably and efficiently.” Id. Accordingly, the

Court should find that Georgia’s petition requirements pose only a reasonable,

nondiscriminatory burden and apply a more deferential level of scrutiny.




                                             -20-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 21 of 33




      C. The State has an important interest in regulating ballot access.

      If “the relevant federal law has evolved” since Jenness as Plaintiffs contend

(see Doc. 134-1 at 46), it has evolved toward affording more deference to a state’s

interest in “ensuring that only bona fide independent candidates with a measure of

support gain ballot access, preventing frivolous candidates from clogging the ballot

and confusing voters.” Swanson, 490 F.3d at 911.

     It has become axiomatic since Jenness that the State has “an important state

interest in requiring some preliminary showing of a significant modicum of support

before printing the name of a political organization’s candidate on the ballot.” 403

U.S. at 442; see Anderson, 460 U.S. at 788 n. 9 (the State has the “undoubted right

to require candidates to make a preliminary showing of substantial support in order

to qualify for a place on the ballot”); Cal. Democratic Party v. Jones, 530 U.S. 567,

572 (2000) (“in order to avoid burdening the general election ballot with frivolous

candidacies, a State may require parties to demonstrate ‘a significant modicum of

support’ before allowing their candidates a place on that ballot.”); Swanson, 490 F.3d

at 911 (“This Court previously has recognized that signature requirements promote

the important state interest of ensuring that only bona fide independent candidates

with a measure of support gain ballot access, preventing frivolous candidates from

clogging the ballot and confusing voters.”).

                                            -21-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 22 of 33




     The State also has a generalized interest in the orderly administration of

elections, and ballot access laws advance the State’s interest in “avoiding confusion,

deception, and even frustration of the democratic process at the general election.”

Jenness, 403 U.S. at 442. See also Storer v. Brown, 415 U.S. 724, 730 (1974) (“as a

practical matter, there must be a substantial regulation of elections if they are to be

fair and honest and if some sort of order, rather than chaos, is to accompany the

democratic process”); Timmons, 520 U.S. at 366 (“States also have a strong interest

in the stability of their political systems.”). While this interest “does not permit a

[s]tate to completely insulate the two-party system from minor parties’ or

independent candidates competition and influence,” a state “need not remove all of

the many hurdles third parties face in the American political arena today.” Timmons,

520 U.S. at 367.

     Plaintiffs do not dispute that the State’s interests are legitimate. Rather, they

argue that Georgia can advanced these interests through less restrictive means. But

under the deferential review that is appropriate here, the Court need only conclude

that these important state interests provide sufficient justification for Georgia’s

reasonable, nondiscriminatory petition requirements. See Anderson, 460 U.S. at 788;

Swanson, 490 F.3d at 910. Accordingly, the Court should deny Plaintiffs’ motion for



                                            -22-
         Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 23 of 33




  summary judgment on their First and Fourteenth Amendment claim, and enter

  judgment as a matter of law in favor of the Secretary.

II.   GEORGIA’S PETITION REQUIREMENTS DO NOT VIOLATE THE
      EQUAL PROTECTION CLAUSE.

         In addition to their First and Fourteenth Amendment claim, Plaintiffs advance

  two separate but related claims based upon the false premise that Georgia requires

  more signatures from candidates for U.S. Representative than for statewide office.

  First, Plaintiffs argue that Georgia’s petition requirements are impermissible under

  the Supreme Court’s decisions in Norman v. Reed, 502 U.S. 279 (1992) and Illinois

  State Board of Elections v. Socialist Workers Party, 440 U.S. 173 (1979). Second,

  Plaintiffs argue that Georgia’s petition requirements discriminate between

  Libertarian Party candidates for statewide office and Libertarian Party candidates for

  U.S. Representative in violation of the equal protection clause. Both of these

  arguments are based on Plaintiffs’ mischaracterization of Georgia’s statutory

  requirements, and fail as a matter of law.

      A. Georgia does not require more signatures for U.S. Representative than it
         does for statewide office.

      Plaintiffs continue to repeat the false refrain that Georgia law requires more

  signatures for local office than for a statewide office. (Doc. 134-1 at 31.) This is

  simply not true. The signature requirement for statewide office under Georgia law is

                                               -23-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 24 of 33




1% of the number of registered voters eligible to vote for that office in the last

election. O.C.G.A. § 21-2-170(b). For 2020, a non-party candidate seeking to qualify

for statewide office (such as U.S. Senate) was required to submit a petition with

51,686 valid signatures. (Doc. 135-4 ¶ 3 & Ex. A.) On the other hand, the signature

requirement for U.S. Representative is 5% of the number of registered voters eligible

to vote for that office in the last election. For 2020, a non-party candidate seeking to

qualify for one of Georgia’s congressional districts was required to submit a petition

with 19,778 to 24,972 valid signatures depending on the size of the district—far less

than for statewide office.

      Georgia’s petition requirements are simple and straightforward: there is a 1%

requirement for statewide office and a 5% requirement for non-statewide office.

Plaintiffs confuse the analysis by arguing that Libertarian Party candidates for

statewide office “have automatic ballot access” and do not have to satisfy the 1%

petition requirement, whereas its candidates for U.S. Representative must meet the

5% petition requirement. (Doc. 134-1 at 54.) But the Libertarian Party does not have

“automatic ballot access” for statewide office. Rather, they obtain statewide ballot

access by meeting the alternative requirements of O.C.G.A. § 21-2-180, which allow

them to nominate statewide candidates by convention by (1) initially submitting a

petition meeting the 1% signature requirement; and (2) continuing thereafter to have

                                             -24-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 25 of 33




a candidate receive 1% of the vote in a statewide race every election cycle. Because

the Libertarian Party previously met the 1% petition requirement in 1988, it

continues maintains its statewide ballot access by demonstrating significant support

among the electorate through votes, rather than by petition.

      Thus, while Georgia provides the Libertarian Party with an alternative process

to access the ballot for statewide office., there is nothing about Georgia’s statutory

scheme that runs afoul of the Supreme Court’s decisions in Norman v. Reed, 502

U.S. 279 (1992) and Illinois State Board of Elections v. Socialist Workers Party, 440

U.S. 173 (1979). These related cases invalidated a unique process by which a

political organization could become a new political party under Illinois law.

Georgia’s ballot access scheme shares none of the same features as the Illinois law

struck down in those cases.

      Under Illinois law, citizens seeking to establish a “new party” and field

candidates for the ballot had to collect 25,000 signatures for statewide office.

Norman, 502 U.S. at 282.7 New party organizers seeking to field candidates for



      7
         The Socialist Workers Party decision struck down an earlier version of the
Illinois petition requirement. While that case relied upon the equal protection clause
to invalidate the law, Norman based its conclusion on the First and Fourteenth
Amendment but relied “on the analysis in a number of our prior election cases resting
on the Equal Protection Clause of the Fourteenth Amendment.” 502 U.S. at 288 n.
8.
                                             -25-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 26 of 33




offices in a non-statewide “political subdivision” had to collect the signatures of

25,000 subdivision voters. Id. If the large political subdivision had multiple districts

from which some of its officers were elected, new party organizers seeking to fill

such offices had to collect 25,000 signatures from each district. Id. A new political

party became an “established political party” if it received 5% of the vote in the next

election, but a party that had not engaged in a statewide election could become

“established” only in a subdivision where it had fielded candidates. Id. at 283.

       The plaintiffs in Norman sought to expand the Harold Washington Party, an

established party in the city of Chicago, to all of Cook County, a subdivision

comprising two electoral districts: a city district and a suburban district. Id. at 283-

84. Before the 1990 election, the party presented the county board of elections with

a petition containing 44,000 signatures from the city district and 7,800 signatures

from the suburban district, as well as a slate of candidates for both at-large and

district-specific seats. Id. at 284. The Illinois Supreme Court found that the Harold

Washington Party’s failure to obtain 25,000 signatures from the suburban district (in

addition to the city district) disqualified their entire slate of candidates. Id. at 286.

       The Supreme Court held that while Illinois had a valid interest in requiring

new parties to show support among the electorate through a petition requirement, it

had not chosen the most narrowly tailored means of advancing that interest. Id. at

                                              -26-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 27 of 33




294. If 25,000 signatures were sufficient to qualify for the ballot for statewide office,

there was no compelling reason why candidates should have to gather a multiple of

that requirement for each district within a political subdivision. Id. at 293. The

Supreme Court furthermore criticized the Illinois law because it had the effect of

disqualifying an entire slate of candidates because of the party’s failure to meet the

signature requirement for every district. Id.

      Georgia’s petition requirements do not have anything in common with the

Illinois law struck down in Norman. Georgia does not require candidates for U.S.

Representative to meet the 5% signature requirement for every political subdivision

within the district; nor does it require political bodies to nominate and qualify an

entire slate of candidates for every congressional district.8 The holding of Norman

simply has no applicability here.

      If anything, Norman cuts against Plaintiffs’ argument that because they

qualify to nominate candidates by convention for statewide office without having to

meet the statewide petition requirement every election cycle, they should

automatically qualify for U.S. Representative as well. The Norman plaintiffs



      8
         Plaintiffs repeatedly mention in their brief that the Libertarian Party would
have to gather 321,713 valid signatures to run a full slate of 14 candidates for
Georgia’s congressional districts. Of course, they are not required under Georgia law
to run a full slate of candidates, and may pick and choose individual districts.
                                             -27-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 28 of 33




similarly cited their electoral success in the city of Chicago as the reason why their

candidates should automatically qualify to run in the suburbs. 502 U.S. at 295. But

the Supreme Court rejected that argument, reasoning that the party candidates still

had to meet the petition requirements for local office and demonstrate support in

those districts. Id. In the same way, it is constitutionally permissible for Georgia to

require that Libertarian candidates demonstrate support in their respective

congressional districts, even if the party has already qualified another way to run

statewide candidates.

   B. Georgia does not “Invidiously Discriminate” between Libertarian
      candidates for statewide and Congressional office.

      Plaintiffs’ claim that Georgia’s petition requirement violates the Equal

Protection Clause of the Fourteenth Amendment also fails as a matter of law. Their

claim—that the petition requirement treats Libertarian Party candidates for statewide

office differently than Libertarian Party candidates for the U.S. House of

Representatives—is not one that has ever been recognized by any court.

     To succeed on their equal protection claim, Plaintiffs must “demonstrate in the

first instance a discrimination against them of some substance.” Am. Party of Texas

v. White, 415 U.S. 767, 781 (1974). State election statutes “create many

classifications which do not deny equal protection; it is only ‘invidious

discrimination’ which offends the Constitution.” Id. (quoting Ferguson v. Skrupa,
                                         -28-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 29 of 33




372 U.S. 726, 732 (1963)).9 See also Jenness, 403 U.S. at 441 (rejecting equal

protection claim).

     Plaintiffs fail to show shown that Libertarian congressional candidates face any

sort of “invidious discrimination” or are subjected to a greater burden than statewide

candidates. As discussed above, it is not discrimination for the State to require

Libertarian candidates to demonstrate voter support in the congressional district in

which they seek to run, even though the party may nominate candidates by

convention for statewide office without having to meet the statewide petition

requirement. Merely because Georgia has provided multiple alternative means to

achieving ballot access does not compel the conclusion that Georgia has violated

equal protection. See Jenness, 403 U.S. at 441-42 (“Georgia has not been guilty of

invidious discrimination” by “providing different routes to the printed ballot.”).

     It is the State’s policy choice to require candidates to demonstrate support

among voters at the state and district level, and no court has ever held that this policy

judgment is unconstitutional. It would not advance the State’s interest in ensuring

that candidates have “a significant modicum of support” among the electorate if


      9
         In support of their equal protection claim, Plaintiffs rely on the outdated legal
standard set forth in Socialist Workers Party, 440 U.S. at 183. That case applied a
strict scrutiny level of review that has been walked back in subsequent cases and
replaced by the Anderson-Burdick test for challenges to state ballot access laws. See
Norman, 502 U.S. at 288 n. 8.
                                              -29-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 30 of 33




Libertarian candidates could rely on their support at the state level to achieve wholly

unrestricted ballot access for each of Georgia’s congressional districts. This is not

an “absurd” or unjustified classification as Plaintiffs contend, because the

Libertarian Party could be popular in one part of the state, but not another. As shown

in Plaintiffs’ own evidence, many of the Libertarian candidates who aspire to run for

Congress have demonstrated little to no support among the voters of their district. It

does not serve equal protection to entirely waive the ballot access requirements for

these Libertarian Party candidates at the expense of the independent, third-party, and

major party candidates who would still be required to invest the time and resources

to earn ballot access. The Constitution does not compel this result, and the Court

should find that Plaintiffs’ equal protection claim fails as a matter of law.

                                   CONCLUSION

      For the foregoing reasons, Plaintiffs’ second motion for summary judgment

should be denied and the Secretary’s motion for summary judgment should be

granted.




                                             -30-
Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 31 of 33




Respectfully submitted, this 25th day of September, 2020.

                               CHRISTOPHER M. CARR
                               Attorney General              112505

                               BRYAN K. WEBB                 743580
                               Deputy Attorney General

                               RUSSELL D. WILLARD            760280
                               Senior Assistant Attorney General

                               /s/ Charlene S. McGowan
                               CHARLENE S. MCGOWAN 697316
                               Assistant Attorney General

                               Office of the Georgia Attorney General
                               40 Capitol Square SW
                               Atlanta, GA 30334
                               cmcgowan@law.ga.gov
                               Tel: 404-656-3389

                               Counsel for Defendant




                                   -31-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 32 of 33




                     CERTIFICATE OF COMPLIANCE
      I hereby certify that the foregoing has been formatted using Times New

Roman font in 14-point type in compliance with Local Rule 7.1(D).

                                     /s/Charlene S. McGowan
                                     Charlene S. McGowan
                                     Assistant Attorney General




                                         -32-
      Case 1:17-cv-04660-LMM Document 140 Filed 09/25/20 Page 33 of 33




                           CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing

DEFENDANT’S RESPONSE TO PLAINTIFFS’ SECOND MOTION FOR

SUMMARY JUDGMENT with the Clerk of Court using the CM/ECF system,

which will send notification of such filing to the following counsel for Plaintiffs via

electronic notification:

                                  Bryan L. Sells
                             bryan@bryansellslaw.com

      Dated: September 25, 2020.

                                        /s/ Charlene S. McGowan
                                        Charlene S. McGowan
                                        Assistant Attorney General




                                            -33-
